               Case 2:04-cv-09049-DOC-RNB
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                    7 Attorneys for Mattel, Inc.
                    8
                    9                               UNITED STATES DISTRICT COURT
                   10                            CENTRAL DISTRICT OF CALIFORNIA
                   11                                      EASTERN DIVISION
                   12 CARTER BRYANT, an individual,                     CASE NO. CV 04-9049 SGL (RNBx)
                                                                        Consolidated with
                   13                  Plaintiff,                       Case No. CV 04-09059
                                                                        Case No. CV OS-02727
                   14            vs.
                                                                        jPUSLIC REDACTED
                   15 MATTEL, INC., a Delaware                          DDECLARATION OF MICHAEL T.
                      corporation,                                      ZELLER IN SUPPORT OF
                   16                                                   MATTEL INC.' S OPPOSITION TO
                            Defendant.                                  OMNI $0^ 'S EX PARTE
                   17                                                   APPLICATION' T^"1NTERVENE
                   18
                             AND CONSOLIDATED ACTIONS                   Hearing Date:      February 11, 2009
                   19                                                   Time:              10:00 a.m.
                                                                        Courtroom:         1
                   20
                                                                        Phase 1C
                   21                                                   Discove Cut-off:          Not Set
                                                                        Pre-trial^onference:      Not Set
                   22                                                   Trial Date                Not Set
                   23
                   24
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07209/278b092 .]         I
                                                    ZELLER DEC. ISO MATTEL'5 OPPOSITION TO APPLICATION TO INTERVENE
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   1                     DECLAR.A,TI4N 4F MICHAEL T. ZELLER
   2
   3                I, Michael T. Zeller, declare as follows:
   4                1.     I am a member of the bars of the State of California , New York
   S and Illinois and am a partner with Quinn Emanuel Urquhart Oliver & Hedges, LLP,
   6 attorneys for Mattel , Inc. I make this declaration of personal, firsthand knowledge,
   7 and if called and sworn as a witness , I could and would testify competently hereto.
   8                2.     Omni 808 Investors, LLC was formed on August 12, 2008,
   9 which was after the Phase IA verdict in this case and while the Phase 1B damages
  10 trial was still on-going . A true and correct copy of Omni 508 Investors, LLC's
  11   Certificate of Status and Articles of Organization is attached hereto as Exhibit 1.
  12                3.    Vision Capital, LLC was formed on August 19, 2005 , which also

  13 was after the Phase 1 A verdict in this case and while Phase 1 B damages trial was
  14 still on-going. A true and correct copy of Vision Capital, LLC' s Certificate of
  15 Formation is attached hereto as Exhibit 2. As set forth below , Vision Capital, LLC
  16 appears to own and have funded Omni 808 Investors , LLC. An off-shore entity
  17 named Lexington Financial Limited appears, in turn , to own and have funded Vision
  18 Capital, LLC.
  19                4.     Leon Neman is a Larian family member. He is the brother-in-
  20 law of Isaac Larian and the brother of Angela Larian , who is Isaac Larian ' s wife. He
  21   also has served as an MGA director . Attached as Exhibit 3 hereto is a true and
  22 correct copy of excerpts from the sworn arbitration testimony of Isaac Larian in the
  23   Larian v. Larian matter so stating . Attached as Exhibit 4 hereto is a true and correct

  24 copy of excerpts from the deposition of Farhad Larian in this litigation so stating as
  2S well.
  26                5.     Attached as Exhibit S hereto is a true and correct copy of UCC

  27 Financing Statement OS-7170410109. In that statement , Vision Capital, LLC's
  28 California address is given as 1525 South Broadway in Los Angeles.

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                       1                b.    As set forth in the concurrently filed declaration of David
                       2 Antolin, when Mattel attempted to serve a subpoena on Vision Capital, LLC at its
                       3   claimed 1525 South Broadway address, the process server discovered that the
                      4 building was occupied by a company named Neman Brothers & Associates and was
                       5 told by the receptionist that she had never heard of Vision Capital. Both deed and
                      6 tax records further confirm that the owner of 1525 South Broadway in Los Angeles
                      '7 is Neman Brothers & Associates. Attached as Exhibit b hereto is a true and correct
                       8 copy of a State of California Deed for 1525 South Broadway in Los Angeles
                      9 reflecting that Neman Brothers & Associates -- "attn: Leon Neman" -- is the grantee
                     10 of the property. Attached as Exhibit 7 hereto is a true and correct copy of a 2009 tax
                     11    record reflecting Neman Brothers & Associates as the taxpayer on the 1525 South
                     12 Broadway property.
                     13                 7.    The owner and operator of Neman Brothers & Associates is
                     14 Leon Neman, who as noted above is Isaac Larian's brother-in-law and brother of
                     i5 Isaac Larian's wife Angela Larian. Attached as Exhibit 8 hereto is a true and correct
                     16 copy of a U.S. Business Finder record from Westlaw reflecting that Leon Neman is
                     17 the owner of that entity. Attached as Exhibit 9 hereto is a true and correct copy of a
                     18 printout from the website of the State of California additionally reflecting Leon
                     19 Neman's association with Neman Brothers & Associates. See also Exhibit 6 hereto
                     20 (identifying Leon Neman by name in the Neman Brothers & Associates deed for
                     21    1525 South Broadway}.

                     2z                 8.    UCC Financing Statement 08-71'70410109 (Ex. 5}reflects that

                     23    Vision Capital, LLC purports to own "right, title and interest in membership
                     24 interests of Omni 808 Investors, LLC," and that Lexington Financial Limited, a
                     25 Nevis Corporation, in turn purports to own Vision Capital, LLC's claimed interest in
                     26 Omni 808 Investors, LLC.
                     2'7               9.     That UCC Financing Statement (Ex. 5) also identifies 33-35
                     28 Daws Lane, London, NW7 4SD, as the puzported business address of Lexington
^.i^^uy2^s^tr^^. i                                                       _^_
                                                  Z1^LLER DEC. !SO MA'T'"EEL'S OPT'OS[1'ION "l'O APE'L1Ct^"I'[ON "1'O TN"['EC^VENE
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                         1 '^ Financial Limited. That is the address of a company called "Officefront," which
                         2 f appears to be company that provides a virtual office---mail, fax and phone reception-
                         3    -starting at X10 per month. A true and correct copy of the Officefront webpage
                         4 ^ <httpa/officefront. co.ukl>, as accessed on December 28, 200$, is attached as
                         5 ^ Exhibit 10. The jurisdiction in which Lexington Financial Limited was formed, the
                         b ^ Caribbean island of Nevis, promotes itself as providing entities registered there with
                         7 "excellent privacy ". See "Offshore-Based Limited Liability Company (LLC}" by
                         8    Sovereign Management & Legal , S.A. (available at www. offshore-
                         9 protection .com/nevisLLC. htmi}, atrue and correct copy of which is attached as
                        10 Exhibit 11.
                        11                 10.         UCC Financing Statement 08W7170410109 (Ex. 5} was filed by
                        12 C Fred Mashian, an attorney with offices on Sunset Boulevard in Los Angeles, on the
                        13    alleged behalf of Lexington Financial Limited. Not only az•e the California offices
                        14 of Vision Capital, LLC actually the offices of Leon Neman as shown above, but Mr
                        1S'. Mashian is along-standing associate of Leon Neman' s as well.
                        16.                11.         For example, Fred Mashian is listed as the registered agent for
                        17 ^ numerous Leon Neznan entities going back several years, including, for example, 85
                        18^'' Harvest Moon, LLC; imperial Real Estate Holdings L.P.; Vertigo Real Estate
                        19 Holdings L.P.; Joshua Paradise Holdings, LLC; and Rock-Hill Holdings, LLC. True
                        20 and correct hard copy printouts of cozparate records reflecting these associations
                        21    between Leon Neman and Fred Mashian are attached hereto as Exhibit 12.

                        22                 12.         Imperial Real Estate Holdings L.P., Vertigo Real Estate
                        23 ^ Holdings L.P. and Joshua Paradise Holdings, LLC, owned by Leon Neman and for
                        24 which Fz•ed Mashian is the registered agent, all also give their address as 1525 South
                        25 Broadway in Los Angeles -- the same California address of Vision Capital, LLC.
                        26 See Exhs. S and 12. Furthermore, Rock-Hill Holdings, LLC., owned by Leon
                        27 ^ Neman and for which Fred Mashian is the registered agent , gives its address as 800
                        2$
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                    1 1 Delaware Ave., Wilmington, DE -- the same Delaware address as Vision Capital,
                    2 LLC. See Exhs. 2 and 12.
                    3                13.        Although Mattel' s investigation is still continuing , and despite
                    4 MGA's failures and refusals to provide discovery i nto the matter, there is reason to
                    S   believe that there also may be familial ties between Fred Mashian and the Nemans
                    6 and/or the Larians . Yoel Neman is an executive at Neman Brothers & Associates.
                    7 Attached hereto as Exhibit 13 is a true and correct copy of a printout from a
                    8 Westlaw infarmational database reflecting this. On information and belief, Yoel
                    9 Neman is the brother of Leon Neman and Angela Larian and therefore the brother-
                   10 in-law of Isaac Larian. Yoel Neman's wife is Monia Neman , whose home address is
                   11   the same as the same as Yoel Neman's. Attached hereto as Exhibit 14 is a true and

                   12 correct copy of a printout from a Westlaw informational database so reflecting.
                   13 Monia Neman has given her business address as 1525 South Broadway in Los
                   14 Angeles. Attached hereto as Exhibit 15 is a true and correct printout of UCC f ling
                   15 0014560274 so reflecting . As Exhibit 16 reflects, Monia Neman is also known as
                   16 Monia Mashian , which on information and belief is her maiden name.
                   17                14.        Mattel uncovered through investigation the documents and facts
                   18 ^ set forth in paragraphs 2 through 3 and 5 through 13, inclusive , above. MGA,
                   19 Larian, Omni 808 , Vision Capital and Lexington Financial disclosed none of it.
                   2a                15.        Neil Kadisha purports to be the CEO of Omni 808 Investors,
                   21   LLC. Attached as Exhibit 17 hereto is a true and correct copy of the Statement of
                   22 Decision of the Los Angeles Superior Court in In re Uzyel II;-^•evocable Trust, dated
                   23 October 24 , 2006, No. BP 058 898 . In that action , Neil Kadisha was found liable
                   24 for taking millions of dollars as part of a 12-year-long pattern of fraudulent conduct
                   25 that included perjury , fabrication of financial records , sham transactions , preparation
                   26 of back dated documents , fraudulent accountings, acts of looting, embezzlement and
                   27 other misappropriations of funds, breaches of fiduciary duty , conflicts of interest
                   28 and illegal self-dealing . Thus, for example, the Los Angeles Superior Court found:
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                                                                          -^r-
                                                   ZELLEit UCC. ISO 119A^1'^'EL'S OPI'051'TION '1^0 APPLIC'A^]'ION ^I'O II\Z^E^RVCNL:
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                       1     •   "Kadisha was heavily involved in two corporations {Omninet
                      2          Corporation and Qualcomm) that were in dire need of millions of dollars
                      3          to stave off impending bankruptcies . He took and used trust assets for
                      4          his own financial interests (much of which was tied to the two failing
                      5          corporations}..." In re Uzyel Irrevocable Trust, Oetober 24, 2006, at
                      6          2:1316.
                      7      •   "Kadisha prepared accountings to cover up, mislead and deceive..." id.
                      8          at 2:22-23.
                      9      •   "Kadisha believed it to be prudent strategy to commit perjury..." Id. at
                    10           4:17-18.
                    11 ''.   •   "Kadisha was no more than a common thief in his monumental takings
                    12           of ... money for his own use and benefit." Id. at 13 :19-20.
                    13       •   "Kadisha's f rst act as Trustee was to misappropriate $500,000..." Id. at
                    14           14:13-14.
                    15       •   "At this time, Kadisha had stripped Trust 2 of virtually all of its cash..."
                    16           Id. at 38 :27-28.
                    17       •   "In discovery, under penalty of perjury, Kadisha gave six different and
                    18           untrue accounts of what he did with the Namco Loan proceeds ." Id. at
                    19           41:23-24.
                    20       •   "The creation of the Rahban'loans ' was simply part of Kadisha 's pattern

                    21           of creating phony transactions ..." Id. at 50-51 n.12.
                    22       •   "Kadisha created a phony, backdated sale to conceal ..." Id. at 62:24-25.
                    23       •   "Kadisha's Trust Accountings Were Fraudulent , Misleading, and
                    24           Inaccurate and Concealed his Wrongdoings." Id. at 71:7-8.
                    25       •   Kadisha "misappropriat [ed]" loan proceeds , trust property and trust
                    26           funds . Id. at 102:1-20.
                    27

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                          1       •   "The court finds beyond any doubt that the acquisition of the subject
                      2               30,000 shares of Qualcomm was enable by Kadisha embezzlement of
                      3               practically all the subject Namco loan proceeds ." Id. at 111 :24-27.

                      4       •       "[T]he trust agreements are the product of fraud by the respondent
                      5               [Kadisha]." Id. at 112:12-23.
                      6       •       "The loan was a conflicted transaction that breached [Kadisha's]
                      7               fiduciary duties.. ." Id. at 117:19.
                      8       •       "[P]ractically everything Kadisha did in so-called management of the
                      9               Trusts was done by embezzlement of trust money for his own interests
                     10               and without regard to any of his obligations as trustee ,.." Id. at 115:22-
                     11               24.
                     12       •       "Kadisha, being guilty of perjury among other misdeeds ..." Id. at 120:1-
                     13               2.
                     14       •       "Kadisha was self-dealing " and "concocted a phony loan of
                     15               $1,400,000. .." Id. at 121:14-18.
                     16I      •       "Kadisha's misappropriation of millions of dollars of trust money from
                     17               1988 to 1996 were not loans made at an adequate interest rate or with
                     18               adequate security, as Kadisha contends . Kadisha embezzled the funds in
                     19               flagrant violation of his fiduciary duties." Id. at 126: 16-18.
                     20       •       Kadisha " intentionally retailiat[ed ]" against petitioners " for suing him."
                     21               Id. at 141:27-28.
                     22       •       "In considering Kadisha' s conduct, the total pattern of Kadisha's conduct
                     23               comes into play. His malice , fraud, recidivism, and reprehensibility may

                     24               be singular. The evidence of his overall conduct over the 12 years of his
                     25               trusteeship establishes by clear and convincing evidence that none of his
                     26               acts were innocent or an accident ..." Id. at 152: I7-20.
                     27       •       "Kadisha misappropriated substantially all of the Trust's assets for his
                     2S               own use to bolster his shaky finances and the shaky finances of
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                                                  7E^Lt.ER {]^C. [SO MATTEL'S OPPOS1TIOiV TO AF'1'i,[CA"['ION TO EN^I'EItVENE
              Case 2:04-cv-09049-DOC-RNB Document 4776-2 Filed 02/05/09 Page 8 of 11 Page ID
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                     1         businesses in which he was heavily invested , including 4mninet and
                    2          Quaicomm." Id. at 153:2-6.
                    3     •    "Kadisha did not engage in an isolated act of misconduct -- he
                    4          repeatedly, systematically and intentionally engaged in conduct that he
                    5          knew was prohibited to him as a trustee." Id. at 155:13-14.
                    6     •    "He Kadisha] intentionally and consistently violated his fiduciary
                    7          duties . He looted the Trusts.... He concealed his wrongdoings with
                    8          fraudulent accountings , backdated promissory notes and phony
                    9         transactions." Id. at 156:1-5.
                   10     •    "^A]s another example of his fraud , Kadisha stole money from the
                   11         Trusts under the guise of making loans to David Rahban, whom the
                   12         Court has found to be anon-existent person in the claimed loan
                   13         transaction." Id. at 156:8-11.
                   14     •    "Kadisha' s malice and/or fraud also includes ... his intentional self

                   15,        dealing with trust assets , ... his backdating of promissory notes and
                   16'^       creating backdated, phony transactions ; his misappropriations of over
                   171        $1 Q million of the Trusts' cash without adequate security or even the
                   18         most minimal documentation ". Id. at 156:16-157:1.

                   19     •   "Kadisha set the course of his entire trusteeship on the impermissible
                   20         taking of Trust assets, false accountings, back-dating of notes and the
                   21         many other intentional breaches of trust hereinbefore set forth ." Id. at
                   22          157:14-17.
                   23     •   "While it may be repetitive, Kadisha didn 't borrow Trust funds -- he
                   24         embezzled them, millions of dollars of them .... He backdated notes in

                   2S         an effort to cover up his wrongful takings. He intentionally and
                   26 I       carelessly caused accountings to be prepared that were deliberately

                   27         designed to deceive and did deceive". Id. at 158:23-28.

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                     1        •     "He [Kadisha] backdated promissory notes prepared after he repaid the
                     2              misappropriations and knew that he had to conceal the fact that they
                     3              were backdated, as demonstrated by his untruthful testimony at his
                     4              deposition about the preparation and execution of the notes." Id. at
                     5               166:18-20.
                     6        •     "He [Kadisha] intentionally designed his accountings to conceal his
                     7              misappropriations." Id. at 166:22.
                     8        •     "But one of the most important things that Kadisha knew, which relates
                     9              to his opposition to each of Petitioners' claims as well as his affirmative
                    10              defenses, is that he would have to give false testimony and suborn
                    11              perjury to prevent his wrongdoings from being discovered by the Court."
                    12              Id. at 168:1-5.
                    13        •     "Kadisha perjured and suborned perju>y at trial." Id. at 169:22.
                    14                16.   Attached hereto as Exhibit 18 is a true and correct copy of a
                    15   Ietter from Registrar Clevelan Williams, dated December 12, 2008.
                    16                17.   Attached hereto as Exhibit 19 is a true and correct copy of MGA
                    17 Parties' Corrections to the Opposition to Mattel, Inc.'s Ex Parte Application for
                    18 Appointment of a Receiver, dated December 25, 2008.
                    19               18.    Attached hereto as Exhibit 20 is a true and con ect copy of
                    20 Exhibit A to the UCC Financing Statement No. 06-7090318014.
                    21                19.   Attached hereto as Exhibit 21 is a true and correct copy of the
                    22   Court's Order, dated January 12, 2009.
                    23               20.    Attached hereto as Exhibit 22 is a true and correct copy of the

                    24^ Declaration of Brian Wing in Support of MGA's Correction to the Opposition to
                    25   Mattel's Ex Parte Application far Receiver, dated December 31, 2008.

                    26               21.    Attached hereto as Exhibit 23 is a true and correct copy of

                    27 Mattel's Motion to Compel, dated February 3, 2009. MGA is also obstructing
                    28 Mattel's ability to obtain documents from these entities.
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                         _.^                                   ^. .^




     1              I declare under penalty of perjury under the laws of the United States of
    2 America that the foregoing is true and correct.
    3               Executed on February 5, 2009, at Los Angeles, California.
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                                                      ichael T. Z Ier
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